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 6
                                  UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8
      GUS REDDING,                                        Case No. 2:19-CV-412-JCM (EJY)
 9
                            Plaintiff,                    STIPULATION FOR
10                                                        EXTENSION OF TIME TO FILE
11
              v.                                          JOINT PRETRIAL ORDER

12    SOC, LLC                                            (FIRST REQUEST)
13
                            Defendant,
14

15
              Pursuant to LR IA 6-1, LR IA 6-2, and LR 7-1 Plaintiff Gus Redding (“Plaintiff”) and
16

17   Defendant SOC LLC (“Defendant”), hereby stipulate and agree as follows:

18            1.     On November 1, 2021 the Court denied Defendant’s Motion for Summary
19
              Judgment. ECF No. 75.
20
              2.     Pursuant to the Joint Discovery Plan and Scheduling Order, the date for filing the
21
              joint pretrial order is 30 days after a decision on any dispositive motion, December 1,
22

23            2021. ECF No. 18.

24            3.     The parties agree to extend the deadline to file the joint pretrial order from
25
              December 1, 2021 to December 15, 2021.
26
              ///
27

28
              ///



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              4.     The parties affirm that the request for extension of the time to file is made in
 1

 2            good faith and not for the purposes of delay.

 3
     Dated this 29th day of November 2021               Dated this 29th day of November 2021.
 4

 5
     LEWIS ROCA ROTHGERBER CHRISTIE ELLWANGER LAW LLLP
     LLP
 6

 7
     BY: /s/ Jennifer K. Hostetler                      BY: /s/ Jay D. Ellwanger
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15                                                            Attorneys for Plaintiff Gus Redding
16

17

18

19
                                                   ORDER

20
              IT IS SO ORDERED:
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22                                                  _______________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
23

24
                                                    Dated: November 29, 2021
25

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     116082741.1
